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                                                                                      U.S. DISTRICT COURT


                                                                                     AUG -~~~

                                   UNITED STATES DISTRICT COU
                                  CENTRAL DISTRICT OF CALIFORNIA                           ~
  UNITED STATES OF AMERICA,                                 cASE rruMBEx
                                                PLAINTIFF




    S~ .~          ~o~.{~a                                      ORDER OF TEMPORARY DETENTION
                                                                  PENDING HEARING PURSUANT
                                          DEFENDANT(S).              TO BAIL REFORM ACT


     Upon motion of G4 ~--~'sc~'~-'^'~                               , IT IS ORDERED that a dete tion hearing
is set for ~~ 9/~2'-~                                                , at ~:'3~    ❑a.m./ C~.m. before the
Honorable     ~. ~b+oa 1 ~'~ o....-                                  , in Courtroom (v ~i'~

    Pending this hearing, the defendant shall be held in custody by the United States Marshal or
                                                                            and produced for the hearing.
                     (Other custodial offcer)




Dated:      4~~/~ ~'`j
                                                U.S.~fstrict Judge/Magistrate J




                  ORDER OF TEMPORARY DETENTION PENDING HEARING PURSI?ANT TO BAIL REFORM ACT
CR-66 (10/97)                                                                                               Page 1 of 1
